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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

     

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTNIRMSE GAUGE AN
Y ,
Plaintiff, ©
2°19 CR 283
v. ) CASENO. |
) Title 18, United States Code,
TORIANO A. LEAKS, JR. ) Sections 922(0), and 924(a)(2)
)
Defendant. )

COUNT 1
(INegal Possession of a Machine Gun, 18 U.S.C. §§ 922(0) and 924(a)(2))

The Grand Jury charges:

On or about April 10, 2019, in the Northern District of Ohio, Eastern Division, the
defendant, TORIANO A. LEAKS, JR. did knowingly and unlawfully possess a firearm as
defined in Title 26, United States Code, Section 5845(a)(6), that is, a machinegun within the
meaning of Title 26, United States Code, Section 5845(b), and more particularly described as a
Glock, model 22, .40 caliber pistol, serial number BDS013, modified so that it shoots
automatically more than one shot, without manual reloading, by a single function of the trigger,

in violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).
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COUNT 2
(legal Possession of a Machine Gun, 18 U.S.C. §§ 922(0) and 924(a)(2))

The Grand Jury further charges:

On or about April 10, 2019, in the Northern District of Ohio, Eastern Division, the
defendant, TORIANO A. LEAKS, JR. did knowingly and unlawfully possess a firearm as
defined in Title 26, United States Code, Section 5845(a)(6), that is, a machinegun within the
meaning of Title 26, United States Code, Section 5845(b), and more particularly described as a
select fire auto-sear, which is a part, or combination of parts, designed and intended solely and
exclusively for use in converting a weapon, specifically a Glock, model 22, .40 caliber pistol,
serial number BDS013, into a machine gun, in violation of Title 18, United States Code, Sections

922(0) and 924(a)(2).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
